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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 In re:                                      )
                                             )      Case No. 17-14004 EEB
 MESA OIL, INC.                              )
                                             )      Chapter 11
                 Debtor.                     )


 NOTICE OF WITHDRAWAL OF OBJECTIONS TO DEBTOR’S AMENDED PLAN OF
         REORGANIZATION DATED OCTOBER 25, 2017, AS AMENDED


           Creditor Vertex Refining LA, LLC (the “Vertex”), through its counsel Wadsworth

 Warner Conrardy, P.C., hereby withdraws its Objections to Debtor’s Amended Plan of

 Reorganization Dated October 25, 2017, as Amended (the “Objection”) (Docket No. 302), and in

 support thereof states as follows:

           1.    On January 16, 2018, the debtor Mesa Oil, Inc. (the “Debtor”) filed its Amended

 Plan of Reorganization Dated October 25, 2017 (the “Plan”) (Docket No. 237).            Debtor

 subsequently filed three amendments to the Plan (Docket Nos. 276, 299 and 326). The third

 amendment satisfies Vertex’s Objection.

           2.    Accordingly, Vertex hereby withdraws the Objection and supports confirmation

 of the Plan, as amended.

           WHEREFORE, Vertex respectfully requests that the Court deem the Objection as

 withdrawn, confirm the Plan as amended and grant such other and further relief as deemed

 proper.
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        Dated this 24th day of May, 2018.

                                            Respectfully submitted,

                                            WADSWORTH WARNER CONRARDY, P.C.

                                            /s/ Aaron J. Conrardy
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                                            aconrardy@wwc-legal.com
                                            Attorneys for Vertex Refining LA, LLC


                                CERTIFICATE OF SERVICE

        The undersigned certifies that on 24th day of May, 2018, I served by prepaid first class
 mail, or electronically through CM/ECF where indicated, a copy of the NOTICE OF
 WITHDRAWAL OF OBJECTIONS TO DEBTOR’S AMENDED PLAN OF
 REORGANIZATION DATED OCTOBER 25, 2017, AS AMENDED on all parties against
 whom relief is sought and those otherwise entitled to service pursuant to the Fed. R. Bankr. P.
 and the L.B.R. at the following addresses:

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                                            /s/ Sarai Galvan
                                            For Wadsworth Warner Conrardy, P.C.


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